
709 S.E.2d 598 (2011)
CRAFT DEVELOPMENT, LLC
v.
COUNTY OF CABARRUS.
No. 436PA10.
Supreme Court of North Carolina.
June 15, 2011.
G. Nicholas Herman, for County of Cabarrus.
James E. Scarbrough, Concord, for Craft Development, LLC.
Richard M. Koch, for County of Cabarrus.
Christy E. Wilhelm, Concord, for County of Cabarrus.

ORDER
Upon consideration of the petition filed on the 12th of October 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 15th of June 2011."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
